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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ART AKIANE LLC,                       )
                                       )
      Plaintiff,                       )
                                       )              Case No. 19-cv-02952
 v.                                    )
                                       )              Judge Edmond E. Chang
 ART & SOULWORKS LLC, CAROL            )
 CORNELIUSON, CARPENTREE, LLC, and )                  Magistrate Judge Jeffrey Cole
 VIRGINIA HOBSON,                      )
                                       )
      Defendants.                      )
                                       )
 ART & SOULWORKS LLC, and              )
 CAROLYNE CORNELIUSON,                 )
                                       )
      Defendants - Counter-Plaintiffs, )
                                       )
 v.                                    )
                                       )
 ART AKIANE LLC,                       )
                                       )
      Plaintiff - Counter-Defendant,   )
                                       )
 and                                   )
                                       )
 AKIANE ART GALLERY, LLC, and          )
 AKIANE KRAMARIK,                      )
                                       )
      Counter-Defendants.              )

                         ART & SOULWORKS LLC AND CAROL
                         CORNELIUSON’S MOTION TO COMPEL

       For the reasons set forth in the accompanying Memorandum of Law, Art & Soulworks, LLC

and Carolyne Corneliuson (collectively, “ASW”), pursuant to Rule 37 of the Federal Rules of Civil

Procedure, moves that this Court Compel Art Akiane LLC, Akiane Art Gallery, LLC, and Akiane

Kramarik, to substantively respond to ASW’s multiple discovery requests.
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Dated: May 29, 2020                     Respectfully submitted,

                                        /s/ Nicole N. Auerbach

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                                CERTIFICATE OF SERVICE

       I certify that on May 29, 2020, I caused a copy of the attached Motion to Compel to be

served upon all counsel of record via the Court’s ECF system.


                                                     /s/ Nicole N. Auerbach
                                                     Nicole N. Auerbach




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